 

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

GOVERNMENT EMPLOYEES INSURANCE

COMPANY, GEICO INDEMNITY COMPANY, Docket No.:

GEICO GENERAL INSURANCE COMPANY and 1:22-cv-03630-KAM-VMS
GEICO CASUALTY COMPANY,

Plaintiffs,
-against-

IDEAL CARE PHARMACY, INC. et al.,

Defendants.
x

 

STIPULATION OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

IT IS HEREBY STIPULATED AND AGREED by and between the undersigned counsel for
Plaintiffs, Government Employees Insurance Company, GEICO Indemnity Company, GEICO
General Insurance Company and GEICO Casualty Company (collectively, the “Plaintiffs”), and
counsel for Defendants, Ideal Care Pharmacy, Inc. and Leonid Naishuler (collectively, the
“Defendants”) that all claims in this action asserted by Plaintiffs against Defendants are dismissed,
without prejudice, pursuant to Fed. R. Civ. P. 41.

Dated: arf f 2023

 

 

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